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UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF VIRGINIA

Charlottesville Division
ELIZABETH SINES, et al.,
Plaintiffs,
vs. Case No. 3:17-cv-00072-NKM
JASON KESSLER, et al.,
Defendants.

MOTION FOR LEAVE TO WITHDRAW AS COUNSEL
FOR DEFENDANT RICHARD B. SPENCER

Pursuant to Local Rule 6(1), John A. DiNucci, counsel of
record for Defendant Richard B. Spencer (Mr. Spencer), hereby
moves this Court for entry of an order permitting him to
withdraw as counsel for Mr. Spencer.

There is good cause to grant this Motion.

WHEREFORE, the premises considered, John A. DiNucci
requests the following relief:

a. entry of an order that

(1) grants this Motion;

(2) permits counsel to withdraw as counsel of record for
Mr. Spencer; and

(3) relieves counsel of any further responsibility in this

case.
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Respectfully submitted,

/s/ John A. DiNucci
John A. DiNucci (VSB No. 29270)
8180 Greensboro Drive

Suite 1150
McLean, Virginia 22102
tel.: (703) 821-4232

fax: (703) 790-9863
e-mail: dinuccilaw@outlook.com

CERTIFICATE OF SERVICE
I hereby certify that, on May 15, 2020, I filed the
foregoing Motion with the Clerk of Court through the CM/ECF
system, which will send a notice of electronic filing to all
counsel of record, including the following:
Counsel of Record

Philip M. Bowman, Esq.
Boies, Schiller Flexner, LLP
575 Lexington Avenue

New York, New York 10022

Robert T. Cahill, Esq.
Cooley, LLP

11951 Freedom Drive
14th Floor

Reston, Virginia 20190

Roberta Kaplan, Esq.
Kaplan & Company, LLP
350 Fifth Avenue

Suite 7110

New York, New York 10118
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Karen L. Dunn, Esq.

Boies, Schiller, Flexner, LLP
1401 New York Avenue. N.W.
Washington, D.C. 20005

Alan Levine, Esq.

Cooley, LLP

1114 Avenue of the Americas
46th Floor

New York, New York 10036

David E. Mills, Esq.

Cooley, LLP

1299 Pennsylvania Avenue, N.W.
Suite 700

Washington, D.c. 20004

David Campbell, Esq.

Duane, Hauck, Davis & Gravatt
100 West Franklin Street
Suite 100
Richmond, Virginia 23220

Bryan Jones, Esq.

106 West South Street

Suite 211

Charlottesville, Virginia 22902

Elmer Woodard, Esq.
5661 U.S. Highway 29
Blairs, Virginia 24527

James Edward Kolenich, Esq.
9435 Waterstone Boulevard
Suite 140

Cincinnati, Ohio 45429

William E. ReBrook, IV, Esq.
6013 Clerkenwell Court
Burke, Virginia 22015
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I further certify, that on May 15, 2020, I also served the
following non-ECF participants, by electronic mail, as follows:

Richard B. Spencer
richardbspencer@gmail.com

 

Christopher Cantwell
christopher. cantwell@gmail.com

 

Robert Azzmador Ray
azzmador@gmail.com

 

Matthew Heimbach
matthew.w.heimbach@gmail.com

 

Vanguard America
c/o Dillon Hopper
dillon_hopper@protonmail.com

Elliott Kline a/k/a Eli Mosley
eli.f.mosley@gmail.com
deplorabletruth@gmail.com

 

 

/s/ John A. DiNucci

John A. DiNucci (VSB No. 29270)
8180 Greensboro Drive

Suite 1150

McLean, Virginia 22102

tel.: (703) 821-4232

fax: (703) 790-9863

e-mail: dinuccilaw@outlook.com

 
